
32 So.3d 196 (2010)
J.C., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 4D09-392.
District Court of Appeal of Florida, Fourth District.
April 21, 2010.
Carey Haughwout, Public Defender, and Anthony Calvello, Assistant Public Defender, West Palm Beach, for appellant.
Bill McCollum, Attorney General, Tallahassee, and Diane F. Medley, Assistant Attorney General, West Palm Beach, for appellee.
DAMOORGIAN, J.
We reverse the trial court's assessment of $50 in court costs against J.C. under section 775.083(2), Florida Statutes (2008), because a trial court may impose court costs on a juvenile under this section only when he or she is adjudicated delinquent. See C.M.S. v. State, 997 So.2d 520, 521 (Fla. 2d DCA 2008); T.L.S. v. State, 949 So.2d 290, 292 (Fla. 5th DCA 2007). The trial court withheld J.C.'s adjudication in this case.
While the State concedes the trial court's error, it nonetheless argues that the court should have imposed on J.C. the $50 statutorily-mandated cost for the Crimes Compensation Trust Fund under section 938.03(1), Florida Statutes (2008). We need not address this issue because the State did not raise this argument on cross appeal, or in a motion to correct disposition or commitment error under Florida Rule of Juvenile Procedure 8.135(b) filed prior to or pending the instant appeal.
Accordingly, we reverse and remand for the trial court to strike the $50 court cost assessment against J.C. under section 775.083(2).
Reversed.
WARNER and LEVINE, JJ., concur.
